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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

POPSOCKETS LLC,
                                                    Case No. 19-cv-00912
               Plaintiff,
                                                    Judge Virginia M. Kendall
v.
                                                    Magistrate Judge Sidney I. Schenkier
6109656, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff PopSockets

LLC (“PopSockets” or “Plaintiff”) hereby dismisses this action, with leave to reinstate within one

hundred and eighty (180) days, as to the following Defendants:

              Defendant Name                                           Line No.
                  City us                                                117
                 Crazy Go                                                118
                   Fast8                                                 129
        YiWu ManTiao E-commerce firm                                     212


Dated this 15th day of April 2019.           Respectfully submitted,


                                             /s/ Justin R. Gaudio_______________
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             Allyson Martin
                                             Greer, Burns & Crain, Ltd.
                                             300 South Wacker Drive, Suite 2500
                                             Chicago, Illinois 60606
                                             312.360.0080 / 312.360.9315 (facsimile)
                                             aziegler@gbc.law
                                             jgaudio@gbc.law
                                             amartin@gbc.law

                                             Attorneys for Plaintiff PopSockets LLC


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